             Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 1 of 30



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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION

11   SHAHRIAR JABBARI and KAYLEE
     HEFFELFINGER, on behalf of themselves and all
12   others similarly situated,                              No. 15-cv-02159-VC

13                                         Plaintiffs,       REVISED [PROPOSED] ORDER
                                                             GRANTING FINAL APPROVAL OF
14                                                           CLASS ACTION SETTLEMENT,
            v.
15                                                           APPROVING SERVICE AWARDS, AND
     WELLS FARGO & COMPANY AND WELLS                         AWARDING ATTORNEYS’ FEES AND
16   FARGO BANK, N.A.,                                       EXPENSES

17                                       Defendants.         Judge: Hon. Vince Chhabria
18

19

20          On May 30, 2018, this Court held a Final Fairness Hearing to determine whether the terms and

21   conditions of the Amended Stipulation and Agreement of Class Action Settlement and Release
22
     (“Settlement,” “Settlement Agreement,” or “SA”) agreed to by Plaintiffs Shahriar Jabbari and Kaylee
23
     Heffelfinger, and proposed Settlement Class Representatives Jose Rodriguez and Antonette Brooks,
24
     individually and on behalf of the Settlement Class (or “Class”), and Defendants Wells Fargo &
25
     Company and Wells Fargo Bank, N.A. (“Defendants” or “Wells Fargo”), are fair, reasonable, and
26

27   adequate and should be approved by the Court, and whether an Order and Final Judgment should be
                                                                              REVISED ORDER GRANTING
28 No. 15-cv-02159-VC                                    1
                                                                           FINAL APPROVAL, APPROVING
                                                                                 SERVICE AWARDS, AND
                                                                                      ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 2 of 30



 1   entered dismissing the above-referenced Action with prejudice and releasing the Released Claims as
 2   defined in Paragraph 2.50 of the Settlement Agreement. The Court also considered Plaintiffs’ request for
 3
     Class Representative service awards and an award of attorneys’ fees and expenses. The Court finds that
 4
     this Settlement complies with the Northern District of California’s Procedural Guidance for Class
 5
     Action Settlements. The Court also finds that the Settlement represents a successful outcome for the
 6

 7   Settlement Class; will provide significant monetary benefits to the Settlement Class while removing the

 8   risk and delay associated with further litigation; and is fair, reasonable, and adequate pursuant to Federal

 9   Rule of Procedure 23. The Court also finds that the requested service awards, attorneys’ fees, and
10
     expenses are reasonable. Therefore,
11
            IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
12
            1.      The Court grants the Motion for Final Approval of the Revised Class Action Settlement
13
     Agreement and Release and grants final approval to the Settlement. This Order (the “Final Approval
14

15   Order”) incorporates by reference the definitions in the Settlement Agreement, and all capitalized terms

16   used here shall have the same meanings as they have in the Settlement Agreement.
17          2.      This Court has personal jurisdiction over all Settlement Class Members and subject-
18
     matter jurisdiction to approve the Settlement Agreement.
19
                                 Compliance with Preliminary Approval Order
20
            3.      All the revisions that the Court requested in its Preliminary Approval Order (ECF 165)
21
     have been implemented. See Declaration of Derek W. Loeser in Support of Plaintiffs’ Motion for Final
22

23   Approval of Class Action Settlement, Certification of a Settlement Class, Service Awards and Fee/Cost

24   Award (Loeser Declaration) (ECF 186). Specifically, Section 39 of the revised long-form notice (ECF

25   162-7) was altered before distribution to make clear that mediation does not impose a binding result on
26
     the parties, but depends on the parties’ mutual agreement. Also, Section 42 of the revised long-form
27
                                                                                     ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                    2
                                                                                      APPROVAL, APPROVING
                                                                                      SERVICE AWARDS, AND
                                                                                          ATTORNEYS’ FEES
                 Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 3 of 30



 1   notice (ECF 162-7) was altered before distribution to include an appropriate email address for Class
 2   Counsel.
 3
                               Class Certification and Final Settlement Approval
 4
            4.       The Court confirms its previous certification of the Settlement Class, for settlement
 5
     purposes only, pursuant to Federal Rule of Civil Procedure 23(b)(3). The Settlement Class is defined as
 6
     follows: All Persons for whom Wells Fargo or Wells Fargo’s current or former subsidiaries, affiliates,
 7

 8   principals, officers, directors, or employees opened an Unauthorized Account or submitted an

 9   Unauthorized Application, or who obtained Identity Theft Protection Services from Wells Fargo during
10   the period from May 1, 2002 to April 20, 2017, inclusive, with the exception of (i) Defendants’ officers,
11
     directors and employees; (ii) the judicial officers and associated court staff assigned to this case, and the
12
     immediate family members of such officers and staff; and (iii) Persons who timely and properly opt-out
13
     of the Settlement Class pursuant to the procedures set out in Paragraph 12 of the Settlement Agreement.
14

15   The Court confirms its previous determination in the Preliminary Approval Order that, for settlement

16   purposes only, the Action meets all the prerequisites of Rule 23(a) and the requirements of Rule

17   23(b)(3).
18          5.       The Court confirms its previous appointment of the following people as Class
19
     Representatives: Shahriar Jabbari, Kaylee Heffelfinger, Jose Rodriguez, and Antonette Brooks. The
20
     Court finds that these Class Representatives have adequately represented the Settlement Class for
21
     purposes of entering into and implementing the Settlement.
22

23          6.       The Court confirms its previous appointment of Derek W. Loeser, Gretchen Freeman

24   Cappio, Daniel Mensher, Jeffrey Lewis, and Matthew J. Preusch of Keller Rohrback L.L.P. as Class

25   Counsel. Class Counsel have adequately represented the Settlement Class for purposes of entering into
26
     and implementing the Settlement.
27
                                                                                      ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                    3
                                                                                       APPROVAL, APPROVING
                                                                                       SERVICE AWARDS, AND
                                                                                           ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 4 of 30



 1          7.      The Court confirms its previous appointment of Rust Consulting as the Settlement
 2   Administrator and finds that it has so far fulfilled its duties under the Settlement. The Court orders that
 3
     the Settlement Administrator shall be paid according to the Settlement Agreement for expenses relating
 4
     to the Notice Plan and administration of the Settlement.
 5
            8.      The Court finds that the Settlement creates a non-reversionary Settlement Fund of $142
 6

 7   million, which Wells Fargo has deposited into the Escrow Account as required by the Preliminary

 8   Approval Order. The Escrow Account was established as a Qualified Settlement Fund within the

 9   meaning of Treasury Regulation Section 1.468B-l of the U.S. Internal Revenue Code of 1986, as
10
     amended. Class Counsel shall, in its sole discretion, appoint an Escrow Agent who shall hold and
11
     distribute funds as provided herein. All costs and expenses of the Escrow Agent, including taxes, if any,
12
     shall be paid from the funds under its control, including any interest earned on the funds.
13
            9.      The Court finds that, in addition to the $142 Settlement Fund, Wells Fargo has agreed to
14

15   pay the cost of engaging the Consumer Reporting Agencies to conduct their respective tasks in

16   connection with the analysis of Credit Impact Damages; up to $1 million of the cost of conducting the
17   expert analysis necessary to calculate Credit Impact Damages; $1 million toward the increased cost of
18
     mailing notice by envelope to Consultant-Identified Persons; certain call center costs related to
19
     management, training, and live support; and certain additional settlement administration costs
20
     necessitated by the supplemental notices issued by Wells Fargo at the direction of the Court.
21

22          10.     The Court finds that the Settlement is, within the meaning of Rule 23(e) of the Federal

23   Rules of Civil Procedure, fair, reasonable, and adequate and in the best interests of the Class

24   Representatives, the Settlement Class, and each of the Settlement Class Members, and is consistent and
25   in compliance with all requirements of due process and federal law. The Court further finds that the
26
     Settlement is the result of arm’s-length negotiations between experienced counsel representing the
27
                                                                                     ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                    4
                                                                                      APPROVAL, APPROVING
                                                                                      SERVICE AWARDS, AND
                                                                                          ATTORNEYS’ FEES
                Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 5 of 30



 1   interests of the Class Representatives, the Settlement Class Members, and the Defendants, and that there
 2   are no signs of collusion between the Parties. The Court further finds that the Parties have evidenced full
 3
     compliance with the Court’s Preliminary Approval Order and other Orders relating to this Settlement.
 4
     The Settlement shall be consummated pursuant to the terms of the Settlement Agreement and this Order,
 5
     and the Parties are hereby directed to perform those terms.
 6

 7             11.   The Court finds that the Notice Plan, previously approved (as modified) by the Court in

 8   its Preliminary Approval Order, has been implemented accurately and fully, and in compliance with the

 9   Preliminary Approval Order. The Notice Plan as implemented by the Parties complies with Federal Rule
10
     of Civil Procedure 23(c)(2)(B). It constituted the best practicable notice; was reasonably calculated,
11
     under the circumstances, to apprise Settlement Class Members of the pendency of the Action and of
12
     their right to exclude themselves or object to the Settlement and to appear at the Final Fairness Hearing;
13
     and was reasonable and constituted due, adequate, and sufficient notice to all persons entitled to receive
14

15   notice.

16             12.   The Notice Plan was extensive and robust. It included direct mail notice to 2,992,937
17   potential Class members based on data provided by Wells Fargo. Botzet Decl. at 2-4 (ECF 182). The
18
     Settlement Administrator has reported to Class Counsel that an additional 29,547 notice packets were
19
     mailed to those who requested them. In addition, Wells Fargo provided more than 100 million email
20
     notices to current and former Wells Fargo customers in two rounds of email notice, and will send more
21

22   than 40 million additional notices in a third round by June 22, 2018. Mathews Decl. at 2 (ECF 245-5).

23   Wells Fargo also incorporated notices into more than 67 million statements mailed or made

24   electronically available to Wells Fargo customers. Id.
25             13.   In addition to that robust direct mail and email notice program, the Settlement provided
26
     an extensive media and advertising component. See Wheatman Decl. (ECF 183). That included printing
27
                                                                                    ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                   5
                                                                                     APPROVAL, APPROVING
                                                                                     SERVICE AWARDS, AND
                                                                                         ATTORNEYS’ FEES
               Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 6 of 30



 1   a color publication notice in national news outlets and Spanish-language outlets. Id. ¶¶ 17-19. “Banner
 2   ads” were also placed on websites, using targeted ad campaigns. Id. ¶ 23. Supplementing all of these
 3
     efforts was a media outreach program designed to drive awareness of the Settlement and point
 4
     Settlement Class Members to the Settlement Website, www.WFSettlement.com, which provided notice,
 5
     frequently asked questions, and key court documents. Id. ¶¶ 28-33. Class Counsel also designed and
 6

 7   implemented several social media campaigns to encourage participation in the settlement. Id. ¶ 28. In

 8   short, the parties and their Court-appointed experts used every reasonable tool to create and implement

 9   and wide-ranging program to provide the best notice practicable to potential Settlement Class Members.
10
            14.     The Court finds that the Plan of Allocation is fair, reasonable, and adequate. The
11
     Settlement provides for three types of payment: (1) Fee Damages and (2) Credit Impact Damages, both
12
     of which together compose “Compensatory Damages”; and (3) and a “residual” payment, which is
13
     termed “Non-Compensatory Damages” under the Settlement. The Plan of Allocation provides that
14

15   Authorized Claimants will be reimbursed from the Net Settlement Amount for Compensatory Damages,

16   and will also be allocated Non-Compensatory Damages. The Plan of Allocation is tailored to the
17   particular facts and circumstances of this case, and includes an innovative approach to tailoring
18
     compensation for increased borrowing costs due to credit score impact.
19
            15.     The Court finds that the Plan of Allocation with respect to Non-Compensatory Damages
20
     is fair, reasonable, and adequate. The Settlement provides for a reserve totaling $25 million for residual
21
     payments to Settlement Class members based on the number of Unauthorized Accounts, Unauthorized
22

23   Applications, and instances of authorized enrollment in Identity Theft Protection Services for each Class

24   member.

25          16.     In accordance with the Order on the Parties’ Stipulation and Administrative Motion re
26   Settlement Reserve and Schedule (ECF 176), the Court orders that in the event the number of
27
                                                                                      ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                     6
                                                                                       APPROVAL, APPROVING
                                                                                       SERVICE AWARDS, AND
                                                                                           ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 7 of 30



 1   Unauthorized Accounts identified by Settlement Class Members in the claims process and not disputed by
 2   the Settlement Administrator exceeds Plaintiffs’ 3.5 million estimate, Wells Fargo will proportionally
 3   increase the $25 million reserve so that the ratio of reserve to Unauthorized Accounts is no less than what
 4
     was implied by Plaintiffs’ estimate at the time of Preliminary Approval, such that:
 5
                    A.      the Settlement Administrator shall calculate the Excess Ratio by dividing the
 6
            number of Unauthorized Accounts, as validated by the Settlement Administrator through the
 7

 8          Claims process, by 3,500,000; and

 9                  B.      Paragraph 9.9 of the Settlement Agreement shall be deemed modified as follows:

10          wherever “$19,366,000” appears in such Paragraph, it shall be replaced by a product obtained by
11
            multiplying $19,366,000 against the Excess Ratio; and wherever “$5,634,000” appears in such
12
            Paragraph, it shall be replaced by a product obtained by multiplying $5,634,000 against the
13
            Excess Ratio.
14
            17.     Compensatory Damages consists of two components: (1) increased borrowing cost due to
15

16   credit score impact as a result of a Credit Analysis Account (“Credit Impact Damages”); and (2)

17   unreimbursed fees assessed by Wells Fargo in connection with certain Unauthorized Accounts (“Fee
18   Damages”).
19
            18.     The Court finds that the Plan of Allocation with respect to Credit Impact Damages is fair,
20
     reasonable, and adequate. The Court has reviewed the Declaration of Edward M. Stockton (ECF 184)
21
     and the Exhibits thereto and finds that Edward M. Stockton is qualified to design the Credit Impact
22

23   Damages model by his specialized knowledge; that, under the model, Credit Impact Damages are based

24   on sufficient data under the circumstances; that the model is the product of reliable principles, reliably

25   applied to the available data; and that the model presents a feasible, reasonable, fair, and objective
26   method for estimating the amount of credit cost injury suffered by the Class. The model compares the
27
                                                                                       ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                     7
                                                                                        APPROVAL, APPROVING
                                                                                        SERVICE AWARDS, AND
                                                                                            ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 8 of 30



 1   cost of credit that a consumer would incur absent the alleged unauthorized conduct to the cost that the
 2   consumer incurred, or is expected to incur, assuming that the alleged unauthorized conduct did occur.
 3
     The difference is equal to the estimated effect on credit cost from the allegedly unauthorized conduct,
 4
     and determined through review of literature, other research, and various reliable quantification
 5
     techniques.
 6

 7          19.     The Court finds that the Plan of Allocation with respect to Fee Damages is fair,

 8   reasonable, and adequate. The Plan of Allocation reasonably and fairly accounts for the unavailability of

 9   data for the 2002-2008 period by allocating Fee Damages to every account from the 2002-2008 period,
10
     but making the per-account payment equal to the average 2009-2017 Fee Damages payment. While
11
     Consultant-Identified Persons are not eligible to receive Fee Damages in connection with the account,
12
     product, or service identified through the Consultant Analysis as potentially being an Unauthorized
13
     Account, any fees assessed by Wells Fargo in connection with such an account, product, or service have
14

15   been or will be reimbursed through a separate process. Consultant-Identified Persons remain eligible to

16   receive Fee Damages in connection with Unauthorized Accounts that were not identified through the
17   Consultant Analysis. Consultant-Identified Persons are eligible to receive Credit Impact Damages in
18
     connection with an Unauthorized Credit Analysis Account, regardless of whether the Unauthorized
19
     Credit Analysis Account was identified through the Consultant Analysis.
20
            20.     The Court has reviewed the updated list of opt outs provided by Class Counsel following
21

22   the Final Approval hearing and attached hereto as Exhibit A and approves that list, including those who

23   filed untimely exclusions, as constituting the complete list of all Persons who have submitted timely

24   requests for exclusion from the Settlement Class. Within 14 days of the issuance of this Order, Class
25   Counsel shall file under seal the opt out forms or online exclusions submitted by those Persons on the
26
     list attached as Exhibit A.
27
                                                                                   ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                   8
                                                                                    APPROVAL, APPROVING
                                                                                    SERVICE AWARDS, AND
                                                                                        ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 9 of 30



 1           21.     The exclusion request submitted by the Navajo Nation shall be effective as to claims
 2   asserted in the Navajo Nation’s own proprietary interests, but does not effectuate an exclusion of
 3
     individual members of the Navajo Nation from the Settlement Class nor does it limit any res judicata
 4
     effect this Judgment has on the claims the Navajo Nation has asserted, or may in the future assert, to
 5
     protect the interests of members of the Navajo Nation. See California v. Intelligender, LLC, 771 F.3d
 6

 7   1169, 1181 (9th Cir. 2014) (“[W]hen the government seeks individual relief on behalf of an already

 8   defeated litigant, res judicata usually applies.”). Each of these individual Class Members have a due

 9   process right to intelligently and individually choose whether to continue in this lawsuit as Settlement
10
     Class Members, and they are adequately represented in this lawsuit by Class Counsel. See Hanlon v.
11
     Chrysler Corp., 150 F.3d 1011, 1024 (9th Cir. 1998) (class rights cannot be exercised “en masse . . . by
12
     attempting to effect a group-wide exclusion from an existing class. Indeed, to do so would infringe on
13
     the due process rights of the individual class members, who have the right to intelligently and
14

15   individually choose whether to continue in a suit as class members.”).

16           22.     Those individuals who filed both a claim and an exclusion, identified on the list provided
17   by Class Counsel and attached hereto as Exhibit B, shall not be excluded unless they subsequently
18
     communicate their intent to Class Counsel or the Settlement Administrator to withdraw their claim and
19
     not participate in the Settlement on or before July 7, 2018. Class Counsel or the Settlement
20
     Administrator shall contact these Class Members, to the extent not already done, and inquire of their
21

22   intentions in this regard, and shall file a supplemental list of validated opt outs, if any, from the list

23   attached as Exhibit B, and shall file under seal the opt out forms or online exclusions submitted by those

24   persons, no later than July 14, 2018.
25           23.     The Court has carefully considered the objections to the Settlement and class certification
26
     and overrules them.
27
                                                                                        ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                      9
                                                                                         APPROVAL, APPROVING
                                                                                         SERVICE AWARDS, AND
                                                                                             ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 10 of 30



 1           24.     The Court finds that formal discovery is not a prerequisite to a fair settlement under Rule
 2   23(e), and that Class Counsel had sufficient information to make an informed decision about settlement.
 3
     The Court also notes that the Settlement accounts for uncertainty about the precise size of the Class by
 4
     providing an uncapped guarantee of Compensatory Damages, and by proportionally increasing the
 5
     reserve for Non-Compensatory Damages in the event the number of Unauthorized Accounts identified by
 6

 7   Settlement Class Members in the claims process and not disputed by the Settlement Administrator exceeds

 8   Plaintiffs’ 3.5 million estimate. See supra ¶ 17.

 9           25.     The size of the Settlement is within the range of reasonableness allowed by Rule 23(e).
10   There is a significant risk that, absent this Settlement, a class could not be certified. In light of that risk,
11
     and others, the Court finds that the Settlement reasonably discounts from the upper limit of feasible
12
     recovery.
13
             26.     The Court has evaluated the Credit Impact Damages methodology and overrules
14

15   objections to it. The methodology compensates Class members for increased borrowing costs due to

16   credit score impact, and does so in an administratively practical manner.

17           27.     The Court also rejects the argument that the Settlement is unfair because it requires
18
     Wells Fargo to ask the Consumer Reporting Agencies to suppress certain credit inquiries and
19
     Delinquency or Derogatory Reports instead of simply directing the Consumer Reporting Agencies to
20
     do so. The Consumer Reporting Agencies are not Parties and cannot be directly bound by the
21
     Settlement. The Parties do not control the Consumer Reporting Agencies; however, the Court has no
22

23   reason to believe that the Credit Reporting Agencies have not or will not suppress information as

24   requested by Wells Fargo.
25

26

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                                                                                        ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                     10
                                                                                         APPROVAL, APPROVING
                                                                                         SERVICE AWARDS, AND
                                                                                             ATTORNEYS’ FEES
               Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 11 of 30



 1             28.   Differences among state laws do not bar certification of the class here, as Plaintiffs have
 2   asserted a claim under a federal statute (the Fair Credit Reporting Act) that is equally applicable in all
 3
     states.
 4
               29.   Because the Court finds that the Notice complied with due process and the requirements
 5
     of Rule 23, it overrules objections to the Notice.
 6

 7             30.   Pursuant to this Order and Final Judgment, with respect to the Released Parties,

 8   Settlement Class Members’ Released Claims are hereby dismissed with prejudice and without costs,

 9   other than those permitted under the Settlement Agreement or by this Order.
10
               31.   As of the Effective Date, the Class Representatives, and all Settlement Class members
11
     who have not been excluded from the Settlement Class, and their heirs, estates, trustees, executors,
12
     administrators, principals, beneficiaries, representatives, agents, assigns, and successors, and/or anyone
13
     claiming through them or acting or purporting to act for them or on their behalf, regardless of whether
14

15   they have received actual notice of the proposed Settlement or have executed and delivered a Claim

16   Form, shall have conclusively compromised, settled, discharged, and released any and all Released
17   Claims against any Released Party, and shall be bound by the provisions of the Settlement Agreement
18
     and this Order. Furthermore, as of the Effective Date, the Class Representatives, and all Settlement
19
     Class members shall by operation of the final judgment have expressly waived, to the fullest extent
20
     permitted by law, any and all provisions, rights and benefits conferred by California Civil Code section
21

22   1542, and any law of any state or territory of the United States, or principle of common law, or the law

23   of any foreign jurisdiction, that is similar, comparable, or equivalent to California Civil Code section

24   1542.
25

26

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                                                                                     ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                     11
                                                                                      APPROVAL, APPROVING
                                                                                      SERVICE AWARDS, AND
                                                                                          ATTORNEYS’ FEES
             Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 12 of 30



 1                              Service Awards, Attorneys’ Fees, and Expenses
 2          32.     The Court finds that the proposed service awards are fair and reasonable, and now Orders
 3
     those awards to be paid out of the Settlement Fund to the following Class Representatives pursuant to
 4
     the Settlement Agreement: to Shahriar Jabbari, $5,000; to Kaylee Heffelfinger, $5,000; to Jose
 5
     Rodriguez, $5,000; and to Antonette Brooks, $5,000.
 6
            33.     The Court awards to Class Counsel attorneys’ fees in the amount of $21,300,000, to be
 7

 8   paid out of the Settlement Fund pursuant to the parties’ agreement, and the terms set forth in this Order.

 9   Noting that the Ninth Circuit’s “benchmark” for percentage-of-the-recovery awards is 25%, the Court
10   finds that the attorneys’ fee award, which is 15% of the Settlement Fund is fair and reasonable under the
11
     percentage-of-the-recovery method based upon the following factors: (1) the results obtained by
12
     counsel in this case, which not only make the Class whole through guaranteed and uncapped
13
     Compensatory Damages, but also guarantee Non-Compensatory Damages; (2) the considerable risk at
14

15   the outset of this case that Class Counsel would receive nothing, given the presence of an arbitration

16   agreement and attendant challenges that they would face in securing and maintaining Class

17   Certification; (3) the substantial non-monetary benefits for the Class, which include requests to
18   suppress Unauthorized Accounts on consumer reports, scrub unauthorized deposit accounts from
19
     Early Warning Services reports, and entitle Class members to a review of their credit history for
20
     Unauthorized Accounts or credit inquiries; (4) the range of awards made in similar cases, which are
21
     often well above the 15% fee requested here; and (5) the considerable financial burdens that Class
22

23   Counsel shouldered on a contingent basis. These factors justify the requested award, which falls well

24   below the Ninth Circuit's 25% percent benchmark.

25

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                                                                                    ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                  12
                                                                                     APPROVAL, APPROVING
                                                                                     SERVICE AWARDS, AND
                                                                                         ATTORNEYS’ FEES
              Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 13 of 30



 1            34.   The Court also awards to Class Counsel $515,549.74 as reimbursement of expenses.
 2   Counsel have adequately documented these expenses, all of which are compensable litigation
 3
     expenses that were advanced for the benefit of the Class.
 4
              35.   Ten percent of Class Counsel’s awarded attorneys’ fees shall remain in the Settlement
 5
     Fund until after Class Counsel files a Notice of Completion of Duties and the Court authorizes the
 6

 7   release to Class Counsel of the attorneys’ fees remaining in the Settlement Fund. Class Counsel shall

 8   file the Notice of Completion of Duties only after substantially all of the Settlement Fund has been

 9   distributed to the Class and administration of the Settlement is substantially complete. The Notice of
10
     Completion of Duties shall generally describe the results of the Settlement administration process,
11
     including the total cost of administration, noting the portions of these costs paid by Wells Fargo.
12
              36.   The Court has carefully considered objections to Class Counsel’s motion for attorneys’
13
     fees and costs, and overrules them. The ex ante risk that Class Counsel assumed by filing this case
14

15   was considerable, and the Settlement provides substantial and innovative relief to the Class, including

16   expert-designed compensation for increased borrowing costs due to credit score impact. Empirical
17   research indicates that for a recovery in the range of $142 million, a fee of 15% is slightly lower than
18
     the median and average. Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and
19
     Their Fee Awards, 7 J. Empirical Legal Stud. 811, 839 tbl.11 (2010); Theodore Eisenberg & Geoffrey
20
     P. Miller, Attorney Fees and Expenses in Class Action Settlements: 1993–2008, 7 J. Empirical Legal
21

22   Stud. 248, 265 tbl.7 (2010). The Court also deems it reasonable to account for the full $142 million

23   Settlement Fund in setting a fee, rather than excluding administrative costs. No objector challenges

24   those administrative costs as excessive, and the costs were expended for the common benefit of the
25   Class.
26

27
                                                                                   ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                  13
                                                                                    APPROVAL, APPROVING
                                                                                    SERVICE AWARDS, AND
                                                                                        ATTORNEYS’ FEES
             Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 14 of 30



 1                                                  Appeal Bonds
 2          37.     Class action objectors can play an important role in class action settlements. However,
 3
     the Court is aware that the objection process can be abused by objectors and their counsel who lodge
 4
     meritless objections for the sole purpose of delaying the implementation of a settlement through appeals
 5
     in order to be paid fees.
 6
            38.     This Court has held that factors such as the following should be taken into account in
 7

 8   determining whether to require an appeal bond: (1) the appellant's financial ability to post a bond; (2) the

 9   risk that the appellant would not pay the appellee's costs if the appeal loses; (3) the merits of the appeal;
10   and (4) whether the appellant has shown bad faith or vexatious conduct. Fleury v. Richemont N. Am.,
11
     Inc., No. C-05-4525 EMC, 2008 WL 4680033, at *6 (N.D. Cal. Oct. 21, 2008).
12
            39.     Under Azizian v. Federated Department Stores, Inc., 499 F.3d 950, 960 (9th Cir. 2007),
13
     an appeal bond can include taxable costs and administrative costs incurred during the delay of
14

15   settlement.

16          40.     Relevant to the third and fourth factors are whether an objection is wholly without merit

17   or the objector or the objector’s counsel has a history of making groundless or bad-faith objections. Such
18   a history makes an appellant less likely to pay costs, and tends to show that an appeal would have little
19
     merit. Professor Robert H. Klonoff, an expert in class action litigation, identifies certain objectors and/or
20
     their counsel as serial objectors. See Supplemental Decl. of Prof. Robert H. Klonoff Relating to Class
21
     Settlement Approval, Attorneys’ Fees, Costs, and Incentive Payments ¶ 13 & n.11.
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23          41.     In the event notices of appeal are filed, the Court will evaluate the above factors when

24   deciding whether a bond is appropriate, and if so, in what amount, based on further briefing.

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                                                                                      ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                    14
                                                                                       APPROVAL, APPROVING
                                                                                       SERVICE AWARDS, AND
                                                                                           ATTORNEYS’ FEES
             Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 15 of 30



 1          42.     Without affecting the finality of this Judgment, the Court reserves jurisdiction over the
 2   Class Representatives, the Settlement Class, and Defendants as to all matters concerning the
 3
     administration, consummation, and enforcement of the Settlement Agreement.
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            IT IS SO ORDERED.
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            June 14
     Dated: ____________, 2018
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 7
                                                            VINCE CHHABRIA
 8                                                          United States District Judge

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                                                                                     ORDER GRANTING FINAL
28 No. 15-cv-02159-VC                                  15
                                                                                      APPROVAL, APPROVING
                                                                                      SERVICE AWARDS, AND
                                                                                          ATTORNEYS’ FEES
Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 16 of 30




  EXHIBIT A
      Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 17 of 30




                 Jabbari, et al. v. Wells Fargo & Co., et al.
                               No. 15-cv-2159
                                  Exclusions
1.    ROBERT DANIEL DESPREZ                  46.   ZACHARY CHRISTENSEN
2.    THERESE A KRAEMER                      47.   ENG JU ONG
3.    MARIA B DIAZ                           48.   SHEILA A ENGSTAD
4.    ALEXANDER R MACKENZIE                  49.   PHERLAWNNA LESLIE
5.    DARYL & JOANNE SINGER                  50.   ANTHONY CATO
6.    DAVID A SINGER                         51.   JOSEPH W STEELE
7.    DR. TONI J LUCERO                      52.   APRIL THOMAS
8.    KIM JOHN OVERBECK                      53.   PATRICIA RIVAS
9.    COLEMAN R FERGUSON                     54.   KIM WESTON
10.   WILLIS JOHNSON                         55.   REGINA WHITE
11.   BRENT LETT                             56.   ARMANDO AYALA
12.   JENNIFER CONNORS                       57.   SHAIMONT JORDAN
13.   SAMSON WILLIAMS                        58.   JENNIFER K ZELENY
14.   GEORGE WEISS                           59.   TRACY KILGORE
15.   ROBERTO RIZZI                          60.   KAY M MITCHELL
16.   BARBARA A HANSELL                      61.   LAWRENCE J MITCHELL
17.   JUAN FRANCISCO MORENO                  62.   BARBARA SHADOAN
      CASTILLO                               63.   ANDREW GORAYEB
18.   TODD RAY                               64.   MATTHEW GRAGG
19.   ILENE M SANDS                          65.   MARIA C CISNEROS
20.   JANEICE MOORE                          66.   WILLETTE KING
21.   VIRGINIA P MORALES                     67.   GEORGE C SCHENCK
22.   ERIN R KOLP                            68.   GWEN BESTEN
23.   CYNTHIA RAYE RISPAUD                   69.   ERIC TALASKA
24.   AARON BELL                             70.   MATTHEW BISHOP
25.   THURMAN L LONG                         71.   ADRIENNE THOMPSON
26.   FRED WILD                              72.   CONSTANT W OUEDRAOGO
27.   BEN BALLANCE                           73.   ANI KHONDKARYAN
28.   CHERESH CASINELLI                      74.   JEFFERY TAYLOR
29.   BEVERLY A BEDELL                       75.   MAGNET MASTERS LLC
30.   ORODINA DORESTE                        76.   GEORGE RUSSELL
31.   BACH DAM                               77.   MARGARET L WATSON
32.   LORRAINE M BETANCOURT                  78.   ANA G GARCIA
33.   HARRY E DYE                            79.   JANELL
34.   ISAAC ASHKERAZIC                       80.   JAMES HARGROVE
35.   ESTATE OF MARION YOUNG                 81.   LAURA K WISHARD
36.   SAMUEL GRECO                           82.   DAVID SELF
37.   THOMAS WESSEL                          83.   RUNE KRAFT
38.   KEITH G LEE                            84.   RUNE KRAFT - PACIFIC
39.   LAURIE ASTERN                                EQUIPMENT MANAGEMENT
40.   LUIS CORVERA                                 COMPANY
41.   CHRISTINE FULLER                       85.   RUNE KRAFT -
42.   SONGKRAN CHIMKIT                             SERVICEPARTNER
43.   PAMELA BURNETT                         86.   RUNE KRAFT - ARTESIA
44.   MARIA T RHODES                         87.   RUNE KRAFT - THE 24 7 GROUP
45.   KENNETH M BUCK                               OF COMPANIES

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       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 18 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
88.    MARIA POWELL                           132. DEBRA DEPAOLI
89.    JERMAINE DAVIS                         133. CELIA ACEVEDO
90.    GLEN GILLESHAMMER                      134. TIFFANI LEE
91.    RENEE PAGE                             135. KATHERINE PETERSON
92.    GLORIA PLEDGER                         136. SHEILA MICHEL
93.    ANDROMEDA NICOLAI                      137. BRETT ANDREWS
94.    GLENN I WELCH III                      138. MICHAEL JOHNSTON
95.    JOHN P. LESTER                         139. BETH JOHNSTON
96.    JOHN P. LESTER - STAFFING              140. MARY BENSON
       DYNAMICS INTERNATIONAL                 141. MARY BENSON
       LLC                                    142. DENISE GRICE
97.    DALLAS BEAVER                          143. AMY PERRY
98.    MARLO MOBLEY                           144. DEBRA COX
99.    PORTIA PITTMAN                         145. MATTHEW D BARZMAN
100.   ABEL VELA                              146. EDWIN GUARDIA
101.   MICHAEL KEANE                          147. AMERICAN SEAFOOD CO INC
102.   RAY A PRICE                            148. COREY L. ROBERSON
103.   CURTIS MCCRAY                          149. MELISSA GRANT
104.   JEFFERY ALLAN BALL                     150. PATRICK VENTANILLA
105.   MARIE WARE                             151. CAMERON P CASEY
106.   JIMMIE B RODRIGUEZ                     152. LAUREN C HEIMLICH
107.   PAUL LAPKASS                           153. MACHE R SAMUELS
108.   MIGUEL A CUEVA                         154. DEIDRE GASTON
109.   HEATHER KNIGHT                         155. CHERYL L. BROCKSMITH
110.   STEPHEN MILLER                         156. PAMELA MARTIN
111.   DAVINA LEA GREYEYES                    157. CARISSA NETHERCUTT
112.   NORMA S VAZQUEZ FLORES                 158. NEDELKA MARTINSEN
113.   RACHAEL SIMMONS                        159. JOHN S SHACKELFORD
114.   DAVID RAY EWING JR                     160. MELINDA BAVILLA
115.   LOVELL BURTON                          161. JEREMY BLACKWELL
116.   CARINA L RHEA                          162. JAYSON PETTIFORD
117.   TRACY L SIMMONS                        163. TERY ANN OCHOA
118.   IRENE E GARCIA                         164. RAPHAEL B. EMANUEL
119.   JENNIFER M SCOLA                       165. WANDA WASHINGTON
120.   CHRISTOPHER WILLIS                     166. JORGE A VARGASRIOS
121.   BRENT MILLER                           167. HECTOR MOLINA
122.   ARMANDO AYALA                          168. MIA JAMES
123.   EDGAR MARQUEZ                          169. LAJUANDA GALLOWAY
124.   TIFFANY ROBINSON                       170. DELISA M. JACKSON
125.   YULONDA GEORGE                         171. LACEY KNOX
126.   REGINALD LIGHTFOOT                     172. CHRISTINA AMARO
127.   LACIE CHANCE                           173. CHRISTINA AMARO – AS
128.   RYAN CUENCA                                 BUSINESS
129.   ANTHONY BISSERUP                       174. KARL GREENEWOOD
130.   RUZANNA GALFAIAN                       175. SCOTT WESTIN
131.   ALEXANDER GOMEZ                        176. ILCE SANCHEZ - RIVERA

                                       2
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 19 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
177.   MONICA HELSEL                          223.   LILA BEARD
178.   PATRICIA A. HUTCHINS                   224.   LOGAN QUINN
179.   BELEN FERNANDEZ BESSONE                225.   LOIS J SCHUPP
180.   RACHEL SHACKELFORD                     226.   MARY SWEENEY/BERNARD
181.   DAVID SHACKELFORD                      227.   MICHAEL CAMARILLO
182.   CAROLYN SHACKELFORD                    228.   MICHELLE A ROSE
183.   RAY SHACKELFORD                        229.   PATRICIA J MANCINELLI
184.   MARY E DEAL                            230.   RICARDO A. LAREMONT
185.   CARL GRUELUND                          231.   SHIRLEY TORKELSON
186.   CAROLINE GRUELUND                      232.   JUSTIN NOEL
187.   KARL G KAPP                            233.   MICHAEL T SHEPPARD
188.   NAVAJO NATION                          234.   ANTHONY J. GALEAZZO
189.   EMILY M CLAYTON                        235.   JERRY AND YUKO HAHN
190.   COLLEEN M OLSON                        236.   BRADFORD S COLLINS
191.   LISA BILKO                             237.   KAREN L. LEE
192.   ROBERT OLSON                           238.   PHYLLIS COSLETT
193.   WILLIE FLORENCE SR                     239.   MERRILL GILLETTE
194.   HELEN VAIL                             240.   JACK-LEHI M BRYCE
195.   DENISE M PILNAK                        241.   ALISA DARNABY
196.   DONALD BLACK                           242.   FRANK GABRIAN
197.   GEORGINA VALDEZ                        243.   MICHAEL ALLUMS
198.   M KATHLEEN SMITH                       244.   BARBARA J STEFFEN
199.   KEVIN PICKARD                          245.   BRIAN E SMITH
200.   BRIXIE MARTINEZ                        246.   CHRISTIAN MCCARTHY
201.   MARVIN SAWYER                          247.   STEPHEN BOGGS JR
202.   ADNAN HOSSAIN                          248.   ALAN MAUNEY
203.   FRAN JOHNSON                           249.   MARY LYNN CROSBY
204.   LENORA M. KNUTH                        250.   FRANCIS X DWYER
205.   MARY K DAGOVITZ                        251.   DAVID C ARMSTRONG
206.   JOHN MORRISON                          252.   DAVID CAVANAH
207.   WAYNE TAYLOR                           253.   JANICE M MCSHERRY
208.   ALLENE J. CRANSTON                     254.   JOHN L RENDALL III
209.   RUTH G. SMITH                          255.   LOIS ANNE INDORF
210.   YOUN HWA YOON                          256.   ELOUISE S OHLSON
211.   KRISTINE J RILEY                       257.   ROGER G HINKLE
212.   BENNIE E SMITH, JR.                    258.   KATHLEEN C CIOFFI
213.   BRYAN S CREGGER                        259.   STEVEN M COLLOTON
214.   DANIELLE VAN LENTE                     260.   ARNOLD L KWIKKEL
215.   DARLENE BUDZIAK                        261.   EMILY DELGADO
216.   EDWARD K RICHTER                       262.   EMILY DELGADO
217.   ERIC SHARPLESS                         263.   ROGER M SALAME
218.   FRED PRINDLE                           264.   CARRIE J CASTILLO
219.   FREDERICK E MASON                      265.   GEORGE F & MARSHA I BOEHM
220.   JARED W. CALLIS                        266.   KENNETH C. SOMMERFIELD
221.   JOHN ROBERT MCCULLOUGH                 267.   ROBERT L. BRUECK
222.   JOSEPH P SOLEBELLO                     268.   RICHARD FENSKE

                                       3
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 20 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
269.   BRANDON BLANKENSHIP                    315.   JACOB UNGUREN
270.   KELVIN BRYANT JR                       316.   JARED HAMANN
271.   FRANK LALONE                           317.   BRIGITTE D COMANDANTE
272.   ROBERT AND MARIAN HAYES                318.   CHRISTINA GOH
273.   SHOMARI J HOHN                         319.   JONATHAN STEIN
274.   BARBARA CHASSEE                        320.   ARTHUR DALE THOMAS
275.   DONIELLE                               321.   COLLEEN A HENNINGS
276.   MARTHA E TOZER                         322.   ALLEN R AND JANET SHIELDS
277.   DAISY GONZALEZ                         323.   HARISH K VELAMALA
278.   KEITH AND HAZEL HENRICK                324.   RAJESWARI MARADANA
279.   GREGORY F RENFROE                      325.   SUSAN RAMOS
280.   TIFFANY IKEDA                          326.   BELKIS AURORA CONTRERAS
281.   ACQUINETTA BEATTY                             CONTRERAS
282.   JAMES SHIPP                            327.   JILL L SEEGER
283.   CYANNE D NIFONG                        328.   C CALLOWAY
284.   MAUREEN FITZGERALD                     329.   WAYNE MAISCH
285.   CAROL HAZLEWOOD                        330.   MARCUS SMITH
286.   ROY C LANE                             331.   ANDREW HILDRED ROBERTS
287.   CHRISTINA LEE ADKINS                   332.   DAVID WATTS
288.   ELIZABETH ANN WHISENAND                333.   LENORE N GUTHRIE
289.   LING-YIN SHIH                          334.   BURTON OZMENT
290.   PAULA D WRIGHT-LAMAR                   335.   ROBERTO BUENFIL RICALDE
291.   MARK BRUNTY                            336.   JIDESH VEERAMACHANENI
292.   OSCAR                                  337.   EDWARD MIHALEK
293.   MATT AND JOY MALINOWSKI                338.   JOE SCHRENGOHST
294.   DAVID KING                             339.   HOWARD GLEICHER
295.   ROSA J GRAVES                          340.   DAMON C. CHEN
296.   YOLANDE ESSANGUI                       341.   ANTHONY BARRETT
297.   EMIL H MYERS JR                        342.   MICHAEL MUCKLOW
298.   DAVID OR AMY STILLMAN                  343.   WANDA J BURNETT
299.   TAMERA SCHEIBE                         344.   JOSEPH BURNETT
300.   KELLY ABNER                            345.   GLENDA BUTTERFIELD
301.   CAROLINA GARAY-ROSARIO                 346.   SARALYN COHEN
302.   ALFREDIA CONNER                        347.   JAMES L. PROCTOR
303.   JEAN ANN LYNCH                         348.   VIRGINIA RODRIGUEZ
304.   MARIA ARZATE                           349.   RHANDA TODD
305.   JESSICA RUPE                           350.   KAREN I BOTEL
306.   PATRICIA A BRUECK                      351.   STEVE WINANS
307.   MARCO ANTONIO BORJA PEREZ              352.   PAULA FREDERICK
308.   JOSEPH K. WASHBURN                     353.   ANDREA ZIMMER
309.   BOYD MONTGOMERY                        354.   GIOVANNI MONTOYA
310.   ODNE METTRA                            355.   JEAN OWONO
311.   DAVID GARRY NEWMAN                     356.   SHIH-TING LIN
312.   ISABEL QUILANTAN                       357.   ADAM PARROTT-SHEFFER
313.   KEVIN VAN TRAN                         358.   ZACHARY BOLT
314.   NATHAN NIXON                           359.   ROBERT KIRKPATRICK

                                       4
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 21 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
360.   JERRY HARMAN                           405. MICHAEL SIMISON – CORRIDOR
361.   RICARDO ESPINOZA                            HEALTH CARE
362.   JICKSEN K JOY                          406. DEVITA DOVER
363.   JOSEPH M SCARBOROUGH                   407. SHAWN MILLER
364.   RICKY HAWKINS                          408. CODY GRIFFIN
365.   LINN S SHAW                            409. RAYMOND MELVIN HALFON
366.   TRACEY FREBERTSHAUSER                  410. SHARI LAND
367.   KALEB HANNEN                           411. VANESSA STELLA
368.   KINAH HIBBLER                          412. ARNOLDO RIVERA
369.   KALEENA LEE                            413. CLAUDIA SANDOVAL
370.   KATHLEEN E WOLFE                       414. DHANESH PERSAUD
371.   SANDRA SALDANA                         415. LALITA JARMOND
372.   LORENA VALENCIA                        416. TONY GARDNER
373.   LESLIE KNOX                            417. RYAN BURCH
374.   EDITE FREITAS                          418. NATASHA JOSEPH
375.   ANN HAGER                              419. LATONYA YATES
376.   ROSILAND TOSCANO                       420. MARVIN IBANEZ
377.   TANIA AVAKIAN                          421. JULIAN LOWELL CULBREATH
378.   MARCIA K GUNHUS                        422. DIANNA SMITH
379.   COREY MICHAEL DAVIS                    423. JOSEPH CHARLES ADLER
380.   TANESHA L MURPHY                       424. STEVE LAWRENCE
381.   RYAN WRIGHT                            425. TAMARAE M HOLLMAN
382.   HOLLY GREEN                            426. THERESA MOORE KEELS
383.   CARLA M IRIZARRY                       427. VILDAN PIRINCCI
384.   ANGELITA MONTEZ                        428. LAQUIETTA BRYANT
385.   MARCELL AARON JR                       429. ALISON LAWRENCE
386.   KATHY KETCHUM                          430. ROMANIE PIERRE
387.   MATTHEW PAUL GOURD                     431. JUANA WILSON
388.   NUWAN DEWATHAGE                        432. KAREN VERGARA
389.   CRYSTRAL SINCLAIR                      433. ARTHUR F AHR
390.   RANDELL ZIRKLE                         434. RAKESHA REED
391.   CRYSTAL MINCEY                         435. MICHAEL J CARRILLO
392.   JUDITH M WALL                          436. SHANA BURBANK
393.   JORGE CERVANTES                        437. LATOYA LEWIS
394.   WENDELL JOHNSON                        438. TRYSTA CARLSEN (JOHNSON)
395.   DANYELL JOHNSON                        439. GILBERT SAUCEDO
396.   SUMAN M PRADHAN                        440. JOSE A SANTIAGO VELEZ
397.   ROBERT D MCMILLAN                      441. GLEN LA RAVIA
398.   DARLENE BURTON                         442. AMY EUDALEY
399.   JOHN J DYER                            443. SHAKE SABBRI
400.   PHILIP CARRELL                         444. PRAKASH PATEL
401.   WILLIAM BRIAN CROGHAN                  445. CHERYL WARREN
402.   LAWRENCE W DUNN                        446. PHILIP PENNELL
403.   DONNA WARDLOW BROWN                    447. BLANCA N CASTILLO
404.   MICHAEL SIMISON                        448. RENA JO KNOLL
                                              449. IOANNIS BOSKOS

                                       5
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 22 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
450.   MARLENE MILFORD                        496.   LINDA LARA
451.   THELMA NEILA ALVARADO                  497.   JOSEPH AYALA
452.   CHANDRIKA BERRY                        498.   JOSEPH DINGLE
453.   KAO HER                                499.   KERLANDE ABOITE
454.   KENDRA NGUYEN                          500.   CLAUDIA CASTRO-GONZALEZ
455.   ROYCE OR MAMIE COLEMAN                 501.   VICTORIA HOLGUIN
456.   CHRISTINA                              502.   MONICA SOLIS
457.   CHARMAINE BLANCHARD                    503.   JARRED ROBINSON
458.   RACHEL FLORES                          504.   JASON JACKSON
459.   LAWRENCE E. TAYLOR JR                  505.   EUGENE J DUPREE
460.   BRIJETTE KENNARD                       506.   NIKKI STRICKLAND
461.   ALBERTO T VALDES                       507.   TIFFANY TOBE
462.   CECILIA E MONTANEZ                     508.   LIDIYA SILVER
463.   FLETCHER BURTON                        509.   DARRELL YOUNG
464.   PHILIP GARDINER DE BACK                510.   DARA FENNER
465.   STEVEN DOROFF                          511.   TEKEILA WARFIELD
466.   ESTHER LOERA                           512.   LILY KOMLAN
467.   ERNESTO OSBALDO BAZUA                  513.   LEON OTTEN
468.   LINDA THOMAS                           514.   REYES A. ORDAZ
469.   SHONDA L. MILLER                       515.   KISSIE HAWKINS
470.   TYRONE TOTTEN                          516.   DORA JONES
471.   CHRISTOPHER LOCALLO                    517.   STEVEN VINCENT ADDISON JR.
472.   GLEN KILMNICK                          518.   MASIE A NEWSOME
473.   JOHN ROSS                              519.   DAVID
474.   ANDREW J WILLIAMS                      520.   MERCEDES MEDINA
475.   JALINE R MCMILLAN                      521.   AMANDA RAKESTRAW
476.   ADAM WEHR                              522.   AUJANEIK MOSS
477.   WILLIAM H. SERRANO                     523.   JUAN C HENRIQUEZ
478.   MICHAEL D WILLIAMS                     524.   MARIA LINO
479.   RANDY KIM                              525.   KEVIN PURDIMAN
480.   NANCY ANN ZECCA                        526.   BERNADETTE BREAUX
481.   SANDRA BAUTISTA                        527.   CARLETON GOODLOE
482.   CHARLES ABABIO                         528.   ZIAMARA
483.   STEVEN JOHNSON                         529.   DAYNA MENZIES
484.   COLETTE DAUGHTRY                       530.   CLAUDIA TELLEZ
485.   LIANE BARBER                           531.   ROBERT OUEINI
486.   GRANDON PARKS                          532.   AFTAB AHMED
487.   VICTORIA ANDERSON                      533.   KAREN LOVINGS
488.   KAILA GREEN                            534.   AKEITHA MOZELL
489.   NEVILLE C GEORGE JR                    535.   CYNTHIA HILL
490.   SHELAYNE SAVAGE                        536.   CHRISTOPHER ALLARD
491.   NORMA MENDOZA BARRIENTOS               537.   SHARON G DAVIS
492.   GARY BILYEU                            538.   YONELIS CUEVAS LORENZO
493.   TYWAIN DECARLOS PETERS                 539.   CAMDEN WHEELER
494.   CYNTHIA L HIGGINBOTHAM                 540.   SHANTEL PALMER
495.   OTORIA FOWLKES                         541.   AARON VARKPEH

                                       6
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 23 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
542.   RICARDO HERNANDEZ                      587.   DONALD L WALKER SR.
543.   NAKEYA J. LANCASTER                    588.   TOWANA WILLIAMS-KERNAN
544.   PEARL M STAUDINGER                     589.   ADLINE PIERRE
545.   JESSICA                                590.   FRANCOISE PIERRE
546.   MELODY STITH                           591.   ADILUS PIERRE
547.   LEIGH MYER                             592.   SHERRIE JONES
548.   DONALD HENNINGTON                      593.   AIRAMUS DAVENPORT
549.   TANISHA WASHINGTON                     594.   JOHN GILLIAM
550.   CASSANDRA MOORE                        595.   SANDRA MARTINEZ
551.   ADAM R. HASS                           596.   SARA ECKL
552.   MANUEL VILLANUEVE                      597.   ANGIE SANDOVAL
553.   ALICIA CERF                            598.   RAJAN'EE WILLIAMS
554.   MARTHA GONZALEZ –                      599.   GIAO Q LE
       SANFORD METAL PROCESSING               600.   GRACIELA SOSA
555.   DEMETRIS FRAZIER                       601.   TANISHA HALL
556.   ABDIKARIM ISSE                         602.   DEBRA GIAMBUZZI
557.   STENNETTIA STEWART                     603.   BARBARA TIMMEL
558.   THOMAS MALCOLM                         604.   JOHNATHAN HOGAN
559.   DAVID WALKER                           605.   THERESA SHORTINO
560.   LIZBETH MONTANEZ                       606.   LUIS LORENZO SALAZAR JR
561.   JACKIE MARENO                          607.   VANESSA SMITH
562.   DEREK MAXWELL                          608.   ZADITH HAMANN
563.   RICHARD OLSEN                          609.   ALAN ENG
564.   FRANCISCO KALAW JR                     610.   LISA LEVINE
565.   RAMIRO MARTIN DEL CAMPO                611.   NANINE FOSTER
566.   ASHLEY ALVAREZ                         612.   KRISTY SMITH
567.   BOBBY MADDOX                           613.   JANET CORNELL
568.   YSMAEL ARIAS                           614.   LAURAL D HECHT
569.   TRACY FELDER                           615.   JOSE CASILLAS GARCIA
570.   SHAKEA L HAMMOND                       616.   KEVIN WILLIAMS
571.   ROBYN HUNTER                           617.   EMERSON ESPIRITU
572.   IDELIA BROWN                           618.   DARYL JOHNSON
573.   NIDIA E. M. ARAIZA                     619.   VICTORIA O JOHNSON
574.   KEITH SMITH                            620.   TONY SWEET
575.   KEVIN P HADLEY                         621.   JOSEPH COLE
576.   LEONARD WILLIAM GRAHAME                622.   TYRINA BARR
577.   RAYNAL RODGERS                         623.   KIWAN HAYNES
578.   JANE LINK                              624.   ASHLEY SPENCER
579.   JIMMY COPPEDGE                         625.   TREAVOR BISBY
580.   JOSE CRUZ                              626.   SAUL RICO
581.   DEBBIE MCPHERSON                       627.   NORMA HERNANDEZ
582.   THASA LIGHTY                           628.   BERNARDO HERNANDEZ
583.   DANIEL SOLACHE                         629.   JEFFREY A BAGLIO
584.   ROBERT DELLA VALLE                     630.   JOSEPH FLORO
585.   SHADIRAH                               631.   TASHA BERNOUDY
586.   LINA SMITH                             632.   MAI HANG

                                       7
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 24 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
633.   SHERRY HURST                           678. RUBY GRAY
634.   LISA HALL                              679. ANITA PAGANO
635.   REBECCA SALINAS                        680. ANETTA & RICHARD (DECD)
636.   IVAN ALEXI DOMINGUEZ                        GOOD
       HERNANDEZ                              681. ROSHANDA MANGUM
637.   MICHELE PATRICK                        682. LEANDRO J CANDELARIA
638.   GINA COOPER                            683. MARLETTA SMITH
639.   CHRISTINA UNRINE                       684. MINDY BENHAMOU
640.   DELTA L PATTERSON                      685. BRUCE A EVANS
641.   NANCY JOAQUIN                          686. HONGJIN HA
642.   RON WAGNER                             687. BEFNARD PIERRE
643.   DAVID JOHNSON                          688. JENNIFER GUTIERREZ
644.   MICHAEL BRADEN                         689. ANTONIO VELAZQUEZ
645.   TERESA ALFARO                          690. LAUREN ALSTON
646.   KENDRA WRIGHT                          691. MISLAINE BOSSE
647.   JESSICA HERNANDEZ                      692. MAZEN ALRAHILI
648.   LANIESHA SMITH                         693. ROBERT C ERICKSON
649.   BENJAMIN CROSLAND                      694. SHANIKA CHERRY
650.   KRISTIE COOK                           695. DEWEY JOHNSON
651.   NICHOLAS SCHREIFELS                    696. ROBERTO MENDOZA PADILLA
652.   YU KAMAKARI                            697. VELMA
653.   LEONARD BRUCE MAY                      698. YAHAIRA ANGULO
654.   LASHONDA THOMAS                        699. JONATHAN EJERCITO
655.   DASHAWN TALMADGE                       700. BRITTNEY BURNLEY
656.   KRISTIN PELLEGRINO                     701. EUNICE COVARRUBIAS
657.   DYLAN SAYERS                           702. DENA HARMON
658.   MOHAMED SOGBEH                         703. GLORIA MUDGE
659.   MICHAEL MESA                           704. ADAM HANCOCK
660.   BEAULAH ALEXANDER                      705. YUMI CROWDER
661.   ROLANDA MADOJEMU                       706. SOLON ESCOBAR
662.   EVELYN ORTEGA                          707. MARK MCINTOSH
663.   MYRA M ZAVALA                          708. RAQUEL WATKINS
664.   ALMA AGUIRRE                           709. KHONDAKER ASHRAF
665.   HELEN GUILLORY                         710. MITCHELL UPCHURCH
666.   KIMBERLY CASTRO                        711. CANDIS CHAMBERS
667.   DEAJA DERRICK                          712. ALBERTO
668.   SANAA HABASHI                          713. OSCAR CARCAMO
669.   TRINITY VANNOSTRAND                    714. MARIA G TRIGUEROS
670.   ALEX NUSBAUM                           715. KENDRA MARTIN
671.   MARTA OROZCO                           716. TANSY SMITH
672.   DESHONTRE T LASTER                     717. BERTHA
673.   PETER TOBIN                            718. JOSUE TREJO NAVARRETE
674.   KIM NAJERA                             719. JOSHUA HUBERT
675.   MASHETTA WILLIAMS                      720. BONG GRIMES
676.   YIDA X MORA SILVA                      721. SHCHEKLEINA OLGA
677.   CHRISTINA KING                              LEONIDOVNA

                                       8
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 25 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
722.   MICHELL ARGO                           766.   JOEY ZSAZSA
723.   NOAH EVERETT                           767.   ANTHONY MIMS II TYRONE
724.   MELODY FLOYD                           768.   TYKERA BEAUFORD
725.   CHRIS MORGILLO                         769.   SHARON
726.   MARK BRUNTY                            770.   MICHAEL F LISTERMANN
727.   DARRIS J ROLLINS                       771.   LADESHA SMITH
728.   TRACI CRADLE                           772.   CARLOS SOMANJI
729.   SALMARIA SCOTT                         773.   TROY WILLIAMS
730.   RENE C NORTH                           774.   SHANIKA NELSON
731.   JOYCE DIGGES                           775.   SANTOS DIAZ
732.   LEYONA NEAL                            776.   KALOLO LUAMANUVAE
733.   DMITRY ROMENSKY                        777.   GARGI MERCHANT
734.   MIGDALIA RUENES                        778.   KIONA SMILEY
735.   VALERIE KIRKLAND                       779.   TIMOTHY GALLOWAY
736.   JULIA O'DOWD                           780.   CHRISTINA MUNOZ
737.   KRISTINA WAGNER                        781.   TABNIKA MCGEE
738.   AMANDA CURRY                           782.   ALEJANDRO GALEANA
739.   CHAMPALE BROWN                         783.   CAROL B. COLE
740.   ROBERT CHARLES HEADLEY                 784.   MARITZA MEJIA
741.   LESLIE DUNBAR                          785.   JOEL VANZANT
742.   JENNIFER YACKEL                        786.   GARY W WILLIS
743.   EUNICE DESHIELDS                       787.   CHRISTOPHER MURPHY
744.   OLGA MOLME                             788.   PACO GONZALES
745.   SHAGHAYEGH                             789.   BRUCE JORDAN
       VAHIDRAMEZANI                          790.   CHRISTOPHER MURPHY
746.   SEYED HAMIDREZA                        791.   JULIE ASHLEY
       SADATSHOBEIRI                          792.   DEBBIE GILES
747.   CHRISTOPHER B ALLEY                    793.   R VALERIE OSBORN
748.   DARREIN EDWARDS                        794.   DONNA LARKIN
749.   THERESA BLESI                          795.   JAMES UTSEY
750.   JULYANA LOPEZ                          796.   DEBRA L. CIANCI
751.   INEZ D ARDOIN                          797.   EGIDIO MEDEIROS
752.   MARY HOUSTON-BOONE                     798.   SAADA THOMAS
753.   ALMAST GRIGORYAN                       799.   KIMBERLEE KJAR
754.   LENA DANIELS                           800.   KARYNTHIA MACK
755.   MARGARITA MELENA                       801.   REGINA WILLIAMS
756.   ALBERTO CERRANO ALVAREZ                802.   JERRY T LOWE
757.   JEANINE LIBERATO                       803.   TINA WALLACE
758.   JIYOUNG CHOI                           804.   VU HOANG
759.   JOSHUA GRAY                            805.   NADIA BEAULIEU
760.   LINDA HENLEY                           806.   JOSE
761.   JERRIOT GLENCAMP                       807.   CARLTON TERRY
762.   LAKOYA MCCALLISTER                     808.   PARIS
763.   CHRISTOPHER ALLEN TOBIAS               809.   ALEXIS
764.   JOHN RONALD CONOVER                    810.   KENNETH MITCHELL
765.   NICHOLAS BRILEY                        811.   TAMYRA WARE

                                       9
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 26 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
812.   CECILE RODRIGUEZ                       857.   FRANKIE TAYLOR
813.   GABRIELLE HOWARD                       858.   LAKESHA COLEMAN
814.   GREGORY JOHN YEAKEL                    859.   ALEXANDRA DURHAM
815.   BARBARA HYACINTH                       860.   DOMINIQUE HUMES
816.   WALEED BAILEY                          861.   JUAN C MARIN ANDRADE
817.   LATASHA ANDERSON                       862.   SATRINA KELLEY JORDAN
818.   DEBRA A STATEN                         863.   CHANDRE JACKSON
819.   VENITA SCOTT                           864.   ALEX PADILLA
820.   FELICIA WOODS                          865.   YRA SHELDANE MILLER
821.   ARTHUR SPRAGG                          866.   LEANNA
822.   MARYSE ELISMA                          867.   MARTHA GONZALEZ
823.   AARON STRAND                           868.   HELENE MAPP
824.   MICHELLE CHATMAN                       869.   JUAN L VENTURA
825.   MELVIN RODRIGUEZ                       870.   TALISHA WEST
826.   WAYNE BECK                             871.   DEVEA STEWART
827.   LEE P SAM                              872.   MERCEDES BENTON
828.   AVIEA JACKSON                          873.   SHARON HOVIS
829.   DAWN BOATWRIGHT (BROOKS)               874.   TYLER HALL
830.   LATASHA WOODYARD                       875.   KYLE WEST
831.   JOSE ARIAS                             876.   MICHELLE DORAN
832.   ALDA MARTINEZ                          877.   CANDACE SHENA TURNER
833.   ROBERT BERNARD DALES                   878.   RUBEN REYES
834.   JENNIFER GARCIA                        879.   BILLY SIMMONS
835.   JILLMARIE SCUTT                        880.   LOUISE ROVETTO
836.   NICOLE KELLUM                          881.   MARGARET CANTLON
837.   WALDO K HOWARD                         882.   JOCELYN REED
838.   SYLVIA SALAZAR                         883.   ERROL WALTERS
839.   RONNY ANDERSON                         884.   ERIN ROBINSON
840.   LINDA LAY                              885.   TERESSA FERREIRA
841.   NAKIA WESLEY                           886.   PHO RICKY PHEAV
842.   MONICA TAYLOR                          887.   AMANDA WILLIS
843.   ALIASGHAR SEDIGHI                      888.   ALAN WILLIAMS
844.   ALAIN DE LA ROSA                       889.   JUANITA SOOTO
845.   MANUELA DIAZ                           890.   MARY ELIOFF
846.   TONDALAYA MITCHELL                     891.   MARIA ANGELES GODOY
847.   JOSEPHINE PELAGGI                             SANCHEZ
848.   JUN HO HAN                             892.   PATRICIA JACKSON
849.   FRANCIS DEL CASTILLO                   893.   THELMA R BRUESCH
850.   DEIZE THEREZINHA NICOLUCCI             894.   ZANDRA
       DE GOES                                895.   ROSITA NUNEZ
851.   AMPARO SOUTHARD                        896.   LAMONICA
852.   RESHA ALDRIDGE                         897.   DARYA SLEZKO
853.   DEVRA MICHELLE CUTTING                 898.   JOHNNY F WAITES JR.
854.   RICHARD SALAMON III                    899.   RENEE M NOSCHKA
855.   BRENDA BOWLES                          900.   KELLEY PIPER
856.   TONI SMITH                             901.   JOHN E BUCKINGHAM

                                      10
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 27 of 30




                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                                   Exclusions
902.   JOHANNA MUSE                           946.   JAZMINE JACKSON
903.   JOHN S. VIEIRA                         947.   DELORES ZEILER
904.   GREG                                   948.   TAKAHITO YUASA
905.   MINYETTE CURRENT                       949.   ABDALLAH ABDULJABER
906.   JAMEISHA ROPER MALCOM                  950.   KRISTEN GLAROS HANSON
907.   JENNIFER                               951.   JAMES MILLER
908.   VIDA DARKALEH                          952.   ELIZABETH RODRIGUEZ
909.   MARLON BIVINES                         953.   LUIS FERNANDO GARCIA DIAZ
910.   JOSEPH L. BRADY                        954.   LATASHIA PARTEE
911.   JENNIFER ELISE WINOVICH                955.   GEYERGOREY LLP
912.   NAKESHA HIGH                           956.   CATHY ADAMS
913.   AURA MARTINEZ                          957.   SUSAN JOHNSTON
914.   GLORIA MASON                           958.   KENNETH GREGORY
915.   REGINA FLOYD                           959.   LISA S STERN
916.   ANTONIO BUNKLEY                        960.   JONES, ERIKA
917.   TINIAJA                                961.   MOYER, ROBERT
918.   ANA B PAYAN                            962.   BRODIE, AARON
919.   RONALD L & C JANE GRAHAM               963.   AARON HANDS
920.   BLASI                                  964.   LAWRENCE LEWIS
921.   PATRIZIA PORCU                         965.   HEIDI HWANG+
922.   NANCY SANTANA                          966.   STEVEN HWANG+
923.   CLOTILDE NEGRON                        967.   MATTHEW TATE SR.+
924.   HADIL ACOSTA
925.   DERRICK MALONE
926.   EDWOOD DESIGN INC                      + Untimely – filed after 5/14/18 deadline
927.   ZACHARY SOYARS
928.   GUADALUPE REGALADO
929.   KATHLEEN KAYLAN
930.   DAVID R NIXON
931.   DAVID GUGICK
932.   DAVID GUGICK - INTRINSIC
       DESIGN INC.
933.   MICHAEL LAMOUREUX
934.   FRANKLIN J GENCUR
935.   MARIA
936.   PUREV O AMINDAVAA
937.   JOSEPH RIAD
938.   JOSEPH RIAD - RIAD TRUST &
       RIAD HOLDINGS
939.   CORNELIA L PORTE
940.   ARTHUR LOPEZ
941.   FATEMEH NAJAFIAN
942.   MARTHA NELLE BAKER
943.   BRIAN WHITT
944.   YOLANDA CARRILLO
945.   CHRIST TAVIO NEELY

                                      11
Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 28 of 30




        Exhibit B
      Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 29 of 30



                 Jabbari, et al. v. Wells Fargo & Co., et al.
                               No. 15-cv-2159
                  Exclusions who also filed Claim Form

1.    MARLA RODGERS                          46.   PAULETTE KNOX
2.    TINA M PIENTA                          47.   YIYIN LIU
3.    VOLODYMYR ANDROSHCHUK                  48.   PAOLY SACCHI
4.    MARCELO KOGAN                          49.   TISHA JOHN
5.    MICHAEL WILKINSON                      50.   RAYMOND VASQUEZ
6.    RICHARD DALE KEEPER JR                 51.   ERICA WILLIAMS
7.    JABARI L LUCHIEN                       52.   LEVENT CAGLAR
8.    HAZEL WARFORD                          53.   STEPHEN SULLIVAN
9.    REZA KAMALI-SARVESTANI                 54.   JEWELERY S GROSS
10.   SABRINA RIVERA                         55.   NORA VONGKEO
11.   LUTHER PERRY                           56.   CINTYA Y CRUZ
12.   EMANUEL DELVALLE                       57.   JENNIFER BARBA
13.   YVONNE E BINGER                        58.   JOHN MELTON
14.   MARIA TERESA CHAVEZ                    59.   MACKENZIE THOMA
15.   LILY BERRY                             60.   CASHE ROYAL
16.   DEIDRE WRIGHT                          61.   CASHE ROYAL
17.   MARSHAY ROBINSON                       62.   SHAWN ALDAY
18.   COURTNEY J MCKOWN                      63.   ATAVIS ANDREWS
19.   VERONICA FLORES                        64.   SANDRA E LOPEZ
20.   ASMAE                                  65.   JANNA WHITE
21.   RADAMES RODRIGUEZ                      66.   KYUNG HONG
22.   CLAIRE DONALD                          67.   KENISHA MELTON
23.   GINA TORRES                            68.   SARA LOPEZ
24.   JAIHYUK CHOI                           69.   DREW MICHAEL QUENZER
25.   JESSE JAMES EDWARDS                    70.   DENA MAREAN
26.   TOBYANN CHARLES                        71.   RICHARD FRANCIS
27.   TIFFANY WALKER                         72.   BOBBY COLEMAN
28.   KATHY HONEA                            73.   JANELLE EVANS
29.   GARY HALEY                             74.   VICTOR THOMAS
30.   MIKE TATASCIORE                        75.   KAYNEESHA FANNIN
31.   JODIE JEAN SWENSON                     76.   JOHN L ENSING
32.   KELVIN K BUSTER                        77.   ALEXEY KOLYCHEV
33.   DONICK A RAMA MINOR                    78.   ERNAN DAI
34.   JIMMY DISMUKE                          79.   MARIA CHUKUMBA
35.   ANTHONY LAWRENCE                       80.   JEFFERY SPALDING
36.   HILAL GUDUL                            81.   DEBBIE GARDINER
37.   CLAIRE DENISE DONALD                   82.   YOLANDA JACKSON
38.   KASHAWN BUTLER                         83.   WILBER CARDONA
39.   JOSHUA OGIMA                           84.   KIM ELLIS
40.   JEUTISHA WEBB                          85.   SANTIAGO NATIVI
41.   JULIA WRIGHT-DUNN                      86.   SHERIF GERGES
42.   JACOB D SEELYE                         87.   DEBRA ESCOBEDO
43.   STEVEN HESTER                          88.   NGUYEN, THAT VAN
44.   JAMES A BERRYHILL                      89.   CYNTHIA P. HODSON-GLASS
45.   JONATHAN COOK                          90.   GENARO ANDRADE

                                      1
       Case 3:15-cv-02159-VC Document 271 Filed 06/14/18 Page 30 of 30



                  Jabbari, et al. v. Wells Fargo & Co., et al.
                                No. 15-cv-2159
                   Exclusions who also filed Claim Form

91.    JON D. DILLINGHAM                      135.   MAGGIE & ARTHUR NEWSOM
92.    HELENA FIGARI HARRIS                   136.   JERMONA WATSON
93.    ANTHONY WYATT                          137.   JEROMA WATSON-CLEMENTS
94.    REMOON MALTY                           138.   RALPH MCCOY
95.    ALLYSSE GASTON                         139.   TRAVIS J ASHBY
96.    SHAREDA BOLDEN                         140.   NICOLE HOWELL
97.    NICOLE MORGAN
98.    TIRIQ DURANT
99.    HENRI W SAAVEDRA
100.   DARLA DELLAPENTA
101.   BETTY PANAMENO
102.   ANGELLA
103.   TASHIA WILLIAMS
104.   ANNETTE STRINGER
105.   DARRYL I HANSON
106.   MARILYN MARTINEZ
107.   BETTY PANAMENO – AS
       BUSINESS BETTY PANAMENO
108.   JAQUELL LAMIESE BURTON
109.   MONICA GOMEZ
110.   SANDRA I ZUNIGA
111.   BRENDA TRAN
112.   DANNY HUNTLEY
113.   MODESTA PUEBLA
114.   JOSHUA PHILLIPS
115.   SIERA HAMILTON
116.   SERRANT JOHNSON
117.   JORGE NAVARRETE
118.   VICTOR J REYNOSO
119.   REDENTOR PANUELOS
120.   JAMES ROBERSON
121.   GERARDO QUINTANILLA
122.   ANNETTE HARRIS
123.   JASON NEWKIRK
124.   CHRISTIN WEAVER
125.   ANTHONY O. BORBON
126.   JEREMY BARTON
127.   LUCRECIA MONTANO
128.   RHONDA BOWICK
129.   MICHAEL J PINNOW
130.   PATRICIA D. HAIRSTON
131.   APRIL WILLIAMSON
132.   STEPHEN MILLER
133.   MIKE ZOU
134.   DEENA E. ROSARIO

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